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                                                      UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                        2:10-CV-365 JCM (PAL)
                  8       UNITED STATES OF AMERICA,

                  9                      Plaintiff,
                10        v.
                11
                          BRAD FUSSELL,
                12
                                         Defendant.
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                14                                                   ORDER
                15             Presently before the court is defendant Brad Fussell’s motion for bail pending sentencing.
                16      (Doc. #148). The government has filed a response (doc. #149), to which Mr. Fussell has not replied.
                17             On September 28, 2011, a jury found Mr. Fussell guilty of conspiracy to distribute cocaine.
                18      After the jury returned its verdict, the government moved to detain Mr. Fussell pending sentencing.
                19      Pursuant to 18 U.S.C. § 3143(a)(2), this court granted the government’s motion and remanded Mr.
                20      Fussell to custody.
                21             Defendants convicted of drug offenses with a maximum sentence of at least ten years
                22      imprisonment are generally not eligible for release pending sentencing. 18 U.S.C. § 3143(a)(2), 18
                23      U.S.C. § 3142(f)(1)(C). However, “if it is clearly shown that there are exceptional reasons why such
                24      person’s detention would not be appropriate,” a defendant may be eligible for release. 18 U.S.C. §
                25      3145(a)(2)(c). Examples of exceptional circumstances include the defendant’s conduct being
                26      aberrational, the length of the prison sentence, circumstances rendering the hardships of prison
                27      unusually harsh for the particular defendant, and an exceptional unlikelihood of flight or danger to
                28
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U.S. District Judge
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                  1     the community. United States v. Garcia, 340 F.3d 1013, 1019, 1021 (9th Cir. 2003).
                  2             Here, Mr. Fussell is facing a mandatory minimum sentence of ten years imprisonment for his
                  3     involvement in a conspiracy to distribute 8.4 kilograms of cocaine in exchange for $250,000. As
                  4     such, the terms of 18 U.S.C. § 3143(a)(2) apply to him, and he must be remanded to custody pending
                  5     sentencing, unless the court finds, “by clear and convincing evidence that [he] is not likely to flee
                  6     or pose a danger to any other person or the community.” 18 U.S.C. § 3143(a)(2)(B).
                  7             Mr. Fussell contends that detention is inappropriate as to him because the underlying criminal
                  8     conduct was completely aberrational and that he presents a low risk of flight or danger to the
                  9     community. The court cannot agree that Mr. Fussell has “clearly shown” exceptional reasons exist
                10      to require his release pending sentencing.
                11              As to Mr. Fussell’s first contention, though this court understands that Mr. Fussell had a
                12      clean criminal history prior to the instant offense, and has no apparent history of using or dealing
                13      drugs, it cannot find that Mr. Fussell’s conduct was so aberrational as to qualify him for release.
                14      Doing so in this case would require that every first time offender be released pending sentencing, in
                15      contravention of the clear congressional intent of § 3143. Being a first time offender, in this court’s
                16      opinion, does not serve as an “exceptional reason” why an individual facing at least ten years
                17      imprisonment should be released pending sentencing.
                18              Further, this court does not find that Mr. Fussell presents an exceptionally low risk of flight
                19      or danger to the community. Mr. Fussell contends that because he is the main breadwinner for his
                20      household, takes care of his mother, has roots in the community, and complied with all of the
                21      conditions of his pretrial release he is exceptionally unlikely to flee. Such evidence is not “clear and
                22      convincing” in the eyes of the court. See 18 U.S.C. § 3143(a)(2)(B).
                23              While it is true that Mr. Fussell has strong roots in the community and familial
                24      responsibilities, the fact remains that he is facing a mandatory minimum sentence of ten years. The
                25      incentive and motivation to flee may be too great for Mr. Fussell to overcome. As such, this court
                26      must discount Mr. Fussell’s familial and community ties as well as his 14-month record of
                27      compliance with pretrial services. Again, Mr. Fussell has not “clearly shown” that he poses an
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U.S. District Judge                                                      -2-
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                  1     exceptional unlikelihood of flight. Pursuant to the terms of 18 U.S.C. § 3143, Mr. Fussell must be
                  2     remain in custody pending his sentencing hearing.
                  3            Accordingly,
                  4            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Mr. Fussell’s motion for
                  5     bail pending sentencing (doc. #148) be, and the same hereby is, DENIED.
                  6            DATED January 4, 2012.
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                                                             UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -3-
